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                    EXHIBIT B
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                                          CERTIFICATION
          Thomas M. Bernstein, Administrative Manager of the Midwest Operating Engineers
  Pension Trust Fund ("Midwest Operating Engineers"), declares, as to the claims asserted under
  the federal securities laws, that:

  I.       I am authorized to make this certification on behalf of Midwest Operating Engineers,
           which wishes to serve ,as a lead plaintiff in this matter.

 2.        I have reviewed a complaint filed in this matter.

  3.       Midwest Operating Engineers did not purchase the securities that are the subject of this
           action at the direction of its counsel or to participate in this action.

  4.       Midwest Operating Engineers is willing to serve as a lead plaintiff and class
           representative on behalf of the Class, including providing testimony at deposition and
           trial if necessary.

  5.       Midwest Operating Engineers' transactions in the securities of A!kermes Public Limited
           Company that are the subject of this action are set forth in Schedule A, attached hereto.

  6.       During the three years prior to the date of this Certification, Midwest Operating
           Engineers has not sought to serve as a representative party for a class under the federal
           securities laws.

  7.       Midwest Operating Engineers will not accept any payment for serving as a class
         . representative on behalf of the class beyond its pro rata share of any recovery, except
           such reasonable costs and expenses (including lost wages) relating to the representation
           of the class as ordered or approved by the court.


                                                         )1 �
          I declare under penalty of perjury that the foregoing is true and correct. Executed this
         2_day
          2nd       ofFebruary2019.

                                          1Z
                                         Thomas M. Bernstein
                                         Administrative Manager
                                         Midwest Operating Engineers Pension Trust Fund




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